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18    V5 Technologies, LLC, d/b/a Cobalt Data Centers
                                    UNITED STATES DISTRICT COURT
19
                                         DISTRICT OF NEVADA
20
      V5 TECHNOLOGIES, LLC, d/b/a COBALT              Case No. 2:17-cv-02349-KJD-VCF
21    DATA CENTERS,

22                     Plaintiff,
                                                     JOINT STIPULATION
23          v.                                       REGARDING AUTHENTICITY
                                                     AND ADMISSIBILITY OF
24    SWITCH, LTD., et al.,                          DOCUMENTS

25                     Defendants.

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                                                STIPULATION RE: AUTHENTICITY AND ADMISSIBILITY
                                                                     Case No. 2:17-cv-02349-KJD-VCF
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1           IT IS HEREBY STIPULATED AND AGREED, by and between plaintiff V5

2    Technologies, LLC, d/b/a Cobalt Data Centers (“Cobalt”) and defendant Switch, Ltd. (“Switch”)

3    (each a “party,” and collectively, the “parties”), through their undersigned counsel, for the

4    purposes of this action only, and subject to the approval of the Court, as follows:

5           Authenticity. Documents produced to a party to this action by another party in response

6    to a document request served upon a party pursuant to Fed. R. Civ. P. 34, or as part of initial

7    disclosures pursuant to Fed. R. Civ. P. 26, shall be deemed authentic for purposes of Fed. R. Evid.

8    901 – that is, true copies of what they facially purport to be – absent good cause. Good cause

9    would include, for example and without limitation, issues relating to the completeness of the

10   document (e.g., missing or incomplete pages) or any conditions in the actual document or the

11   manner in which it was produced that brings into question whether the document was actually

12   generated by the relevant party or third-party.

13          Defendant however specifically reserves the right to challenge Cobalt_00000143-148,

14   Cobalt_00000149-153, Cobalt_00000154-158, and Cobalt_00000159-163 as Authentic.

15          Best Evidence Rule. No party shall object, at trial or otherwise, to the admissibility of

16   any document produced to a party to this action by another party in response to a document

17   request served upon a party pursuant to Fed. R. Civ. P. 34, or as part of initial disclosures

18   pursuant to Fed. R. Civ. P. 26, under Fed. R. Evid. 1002 on the grounds that the document is not

19   an original writing, recording, or photograph – absent good cause.

20          Defendant however specifically reserves the right to challenge Cobalt_00000143-148,

21   Cobalt_00000149-153, Cobalt_00000154-158, and Cobalt_00000159-163 under the Best

22   Evidence Rule.

23          This stipulation does not address and cannot be used to establish elements of admissibility

24   other than the element of authenticity and satisfaction of the Best Evidence Rule.

25   //

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                                                   STIPULATION RE: AUTHENTICITY AND ADMISSIBILITY
                                                                        Case No. 2:17-cv-02349-KJD-VCF
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1    Respectfully Submitted,

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3    /s/ Rory Reid                                    October 20, 2021
     Rory Reid                                             Date
4    Attorneys for Plaintiff V5 TECHNOLOGIES,
5    LLC, d/b/a COBALT DATA CENTERS

6
     Jacob Reynolds                                   October 20, 2021
7
     Jacob Reynolds                                         Date
8    Attorneys for Defendant SWITCH, LTD.

9

10

11   IT IS SO ORDERED.
                          Oct. 21, 2021
12   DATED:        __________________________________.

13

14   ________________________________________________
     HON. KENT J. DAWSON
15   UNITED STATES DISTRICT JUDGE
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                                            STIPULATION RE: AUTHENTICITY AND ADMISSIBILITY
                                                                 Case No. 2:17-cv-02349-KJD-VCF
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1                                         PROOF OF SERVICE

2           I hereby certify that I am employed in Las Vegas, Nevada. I am over the age of 18 and

3    not a party to the within action. My business address is:

4           REID RUBINSTEIN & BOGATZ
5           Bank of America Plaza
            300 South 4th Street, Suite 830
6           Las Vegas, NV 89101

7           On October 20, 2021, I caused the foregoing document(s) to be filed via the Court’s

8    CM/ECF system, which will accomplish service on all parties of record through their counsel.

9           I declare under penalty of perjury under the laws of the United States of America that the

10   above is true and correct.

11          Executed on October 20, 2021, at Las Vegas, Nevada.

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13                                                By: /s/ Rory Reid
                                                        Rory Reid
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